     Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 1 of 45




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                        Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

  COALITION PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR
PRELIMINARY INJUNCTION RELATING TO BMDS, SCANNING AND
               TABULATING, AND AUDITING



                             August 24, 2020
         Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 2 of 45




                                        TABLE OF CONTENTS


TABLE OF CONTENTS .......................................................................................... i

TABLE OF AUTHORITIES ................................................................................... iv

I.      INTRODUCTION .......................................................................................... 1

II.     NECESSITY FOR, OVERVIEW OF, AND FEASIBILITY OF RELIEF
        SOUGHT ........................................................................................................ 4

        A.       A Constitutional Voting System Provides “Transparent,
                 Fair, Accurate, and Verifiable Election Processes That
                 Guarantee Each Citizen’s Fundamental Right To Cast An
                 Accountable Vote.” .............................................................................. 4

        B.       The Entire Record Shows That Georgia’s
                 Implementation of The Dominion Voting System Fails
                 To Meet This Standard And Violates Voters’
                 Constitutional Rights ............................................................................ 5

                 1.       Evidence Previously Submitted Into The Record ...................... 5

                 2.       New Evidence ............................................................................ 5

                          a)        Voting System Servers Are Not Hardened And Not “Air-
                                    Gapped” As Claimed ....................................................... 6

                          b)        Scanner And Tabulation Software Is Not Counting All
                                    Valid Voter Marks ........................................................... 7

                          c)        Pre-Election Logic And Accuracy Testing Of BMDs Is
                                    Materially Deficient ......................................................... 8

                          d)        Post-Election Audit Failures And Non-Compliance ..... 10

                          e)        Ongoing Ballot Secrecy Violations ............................... 13



                                                           i
       Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 3 of 45




                      f)       Ballot Accounting Discrepancies Are Common ........... 14

                      g)       Malfunctions Reported .................................................. 15

             3.       More Evidence Will Be Forthcoming From Discovery ........... 16

       C.    Requested Relief—Description And Feasibility ................................ 16

             1.       Hand Marked Paper Ballots Instead Of BMDs........................ 16

             2.       Scanning Fixes For Mailed/Hand Marked Ballots................... 17

             3.       Effective Audits For Mailed/Hand Marked Ballot
                      Tabulations ............................................................................... 18

III.   LEGAL FRAMEWORK GOVERNING THIS MOTION .......................... 18

       A.    Overview ............................................................................................ 18

       B.    Substantive Law Governing The Underlying Merits ......................... 19

             1.       Fundamental Right To Vote..................................................... 19

             2.       Equal Protection ....................................................................... 19

             3.       Unconstitutional Conditions Doctrine ..................................... 20

IV.    STANDING OF COALITION PLAINTIFFS.............................................. 21

V.     COALITION PLAINTIFFS ARE LIKELY TO SUCCEED ON THE
       MERITS BY SHOWING THAT GEORGIA’S REQUIREMENT FOR
       VOTERS TO USE BMDs IS UNCONSTITUTIONAL .............................. 21

       A.    Georgia’s BMDs Unconstitutionally Infringe Upon The
             Fundamental Right To Vote By Producing
             Unaccountable Results That Are Impossible To Audit
             And Verify ......................................................................................... 21




                                                      ii
         Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 4 of 45




        B.       Georgia’s BMDs Unconstitutionally Burden The Right
                 To Vote And Treat Similarly Situated Voters Unequally
                 By Depriving In-Person Voters Of Ballot Secrecy ............................ 24

        C.       Georgia’s Implementation Of The Dominion Voting
                 System Is Unconstitutionally Insecure ............................................... 28

        D.       Georgia’s Testing Of The Dominion Voting System Is
                 Unconstitutionally Deficient .............................................................. 29

VI.     COALITION PLAINTIFFS ARE LIKELY TO SUCCEED ON THE
        MERITS BY SHOWING THAT SCANNERS MAY NOT BE
        PROGRAMMED TO IGNORE VOTER MARKS ARBITRARILY.......... 30

VII. ALL REMAINING ELEMENTS REQUIRED TO JUSTIFY AN AWARD
     OF INJUNCTIVE RELIEF ARE ALSO PRESENT ................................... 33

        A.       Coalition Plaintiffs Are Likely To Suffer Irreparable
                 Harm ................................................................................................... 33

        B.       The Balance Of Equities Favors The Coalition Plaintiffs .................. 33

        C.       An Injunction Is In The Public Interest .............................................. 34

VIII. CONCLUSION ............................................................................................ 35




                                                           iii
         Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 5 of 45




                                    TABLE OF AUTHORITIES

                                                                                                         Page(s)

Cases

Anderson v. Celebrezze,
  460 U.S. 780 (1983) ........................................................................ 19, 20, 21, 30

Bourgeois v. Peters,
  387 F.3d 1303 (11th Cir. 2004) ................................................................... 20, 27

Burdick v. Takushi,
  504 U.S. 428 (1992) ........................................................................ 19, 20, 21, 30

Bush v. Gore,
  531 U.S. 98 (2000) ............................................................................................ 27

Casarez v. Val Verde Cty.,
  957 F. Supp. 847 (W.D. Tex. 1997) .................................................................. 35

City of Cleburne v. Cleburne Living Ctr.,
   473 U.S. 432 (1985) .......................................................................................... 19

Columbia Gas Transmission, LLC v. 84.53 Acres of Land, More or
  Less,
  310 F. Supp. 3d 685 (N.D. W.Va. 2018) ........................................................... 34

Crawford v. Marion County Election Bd.,
  553 U.S. 181 (2008) ................................................................................... passim

Curling v. Kemp,
  334 F. Supp. 3d 1303 (N.D. Ga. Sep. 17, 2018) ......................................... passim

Jones v. Governor of Fla.,
   950 F.3d 795 (11th Cir. 2020) ........................................................................... 33

Koontz v. St. Johns River Water Mgmt. Dist.,
  570 U.S. 595 (2013) .......................................................................................... 20




                                                        iv
         Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 6 of 45




Reynolds v. Sims,
   377 U.S. 533 (1964) .......................................................................................... 33

Tashjian v. Republican Party,
   479 U.S. 208, 218 (1986) ............................................................................ 26, 34

United States v. Saylor,
  322 U.S. 385 (1944) .......................................................................................... 32

Univ. of Tex. v. Camenisch,
  451 U.S. 390 (1981) .......................................................................................... 18

Wesberry v. Sanders,
  376 U.S. 1 (1964) .............................................................................................. 33

Wexler v. Anderson,
  452 F.3d 1226 (11th Cir. 2006) ......................................................................... 20

Winter v. NRDC,
  555 U.S. 7 (2008) .................................................................................. 18, 33, 34

Statutes

O.C.G.A. § 21–2–300(a)(2) .................................................................................... 16

O.C.G.A. § 21–2–379.25(a).................................................................................... 29

O.C.G.A. § 21–2–379.25(a), (c) ............................................................................. 29

O.C.G.A. § 21–2–379.25(c)...................................................................................... 8

O.C.G.A. § 21–2–383(c)......................................................................................... 16

O.C.G.A. § 21–2–483(g) ........................................................................................ 32

O.C.G.A. § 21–2–70(13) ........................................................................................ 27

O.C.G.A. § 21-2-322 .............................................................................................. 27

O.C.G.A. § 21-2-365 .............................................................................................. 27

O.C.G.A. § 21-2-373 .............................................................................................. 27

                                                         v
          Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 7 of 45




O.C.G.A. § 21-2-379.1 ........................................................................................... 27

O.C.G.A. § 21-2-386(5) .......................................................................................... 27

Other Authorities

Fed. R. Evid. 1006 .................................................................................................... 5

Ga. Const. art. II, § 1, ¶ I ........................................................................................ 27

State Election Bd. Rule 183–1–12–.11.2(d) ............................................................. 4

State Election Bd. Rule 183–1–15–.04 (proposed) ................................................ 18

State Election Bd. Rule 183-1-15-.02(2)(k) (proposed) ......................................... 31

State Election Bd. Rule 183-1-15-.02 (proposed) .................................................. 17

U.S. Const. Amend I ............................................................................................... 34

U.S. Const. Amend XIV ......................................................................................... 19

U.S. Const. Amend XIV, § 1 (Equal Protection Clause) ........................................ 19




                                                           vi
       Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 8 of 45




      The Coalition Plaintiffs1 respectfully file this Brief In Support Of Motion

For Preliminary Injunction Relating To BMDs, Scanning And Tabulating, And

Auditing.

I.    INTRODUCTION

      In the current political environment, which combines escalating

cybersecurity threats from foreign attackers with a public health crisis that is

changing how most people will vote, it is especially critical for the State of

Georgia to conduct a defensible, evidence-based election. Now, more than in any

other election in modern history, Georgia is in a national and international spotlight

as a result of its repeated election failures. If the State again forces voters to use its

unaccountable, unverifiable Dominion voting system this November, the result will

be a colossal train wreck for democracy, which will leave counties and the State

utterly unable to defend their election results against charges of fraud and error.

Georgia’s Dominion voting system, like the unconstitutional DRE system that it

replaced, produces unaccountable, inherently evidence-free election outcomes by

its very design. While a switch to using hand marked paper ballots may

superficially appear to be an administrative inconvenience, such a change would



1
 “Coalition Plaintiffs” are Coalition for Good Governance (“Coalition”), Laura
Digges, William Digges III, Megan Missett, and Ricardo Davis.

                                            1
       Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 9 of 45




actually greatly relieve the burden on counties while instituting the only viable

method of conducting a defensible, auditable election.

      The Coalition Plaintiffs’ First Supplemental Complaint (the “FSC,”

Doc. 628) mounts an “as-applied” challenge to Georgia’s implementation of the

“Dominion BMD System.” The FSC defines the “Dominion BMD System” as the

EAC-certified system selected for Georgia’s current voting system, which the FSC

expressly alleges to consist of components that include the election management

software, adjudication software, ballot marking devices and firmware, precinct

scanners and firmware, and central-count scanners and firmware. (Id. at 8, ¶ 5; 23,

¶ 67.)2 The voting system that is being challenged in this case is the entire

Dominion BMD System, i.e., the certified combination of Dominion components

that Georgia has implemented, including the Dominion-supplied KnowInk

PollPads. The Coalition Plaintiffs’ FSC explicitly attacks the “Dominion BMD

System” as a whole, not just the BMD component standing in isolation.

      The FSC alleges that the State Defendants’ intended use of the “Dominion

BMD System” in upcoming elections will cause imminent violations of the




2
 The proposed FSC was filed on September 6, 2019. (Doc. 600.) Afterward, the
State itself expanded its own definition and certification of the Dominion voting
system to include the new electronic pollbooks component. (Doc. 640, at 2 n.1.)

                                          2
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 10 of 45




fundamental right to vote, (Count I, Doc. 628, at 67–69), and of the Fourteenth

Amendment’s guarantee of equal protection, (Count II, id. at 70–72.)3

      In this Motion, Coalition Plaintiffs seek preliminary injunctive relief from

these imminently threatened constitutional violations in time for the November

2020 election. Specifically, Coalition Plaintiffs ask the Court to enter a preliminary

injunction that requires the State Defendants: (1) to refrain from forcing in-person

voters to use BMDs and instead cause voters to use hand marked paper ballots as

the standard method for in-person voting; (2) to adopt scanning threshold settings

for the Dominion scanners and vote review procedures that will ensure all voter

marks on mailed and hand marked paper ballots are counted; and (3) to require

superintendents to conduct meaningful, effective pre-certification audits of scanned

hand marked paper ballots to ensure the correctness of election outcomes.

      The portion of the requested relief that would prohibit the use of BMDs and

instead cause the use of hand marked paper ballots for in-person voters is

eminently feasible because in-person voting on hand marked paper ballots is

already the default method that the State Defendants themselves have adopted and

currently require every polling place in Georgia to be ready to switch to on a


3
  Coalition Plaintiffs also allege that the Dominion BMD System violates the right
to procedural due process, (Count III, Doc. 628, at 72–74), but this Court
dismissed Count III without prejudice. (Doc. 751, at 45–51.)

                                          3
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 11 of 45




moment’s notice, in the event that BMDs fail (e.g., due to loss of power), voting

wait times grow to be longer than thirty minutes, or some other emergency arises.

State Election Bd. Rule 183–1–12–.11.2(d). The requested relief related to

scanning and audit fixes is feasible because both of these proposed fixes are easily

implemented, would require only modest, workable changes to counties’ election

administration, sharply lessening their administrative burden and cost. The impact

on voters of hand marking their ballots will be to greatly simplify the voting

process and reduce voting lines at the polls. The relief requested by Coalition

Plaintiffs is not only feasible to implement, but it is easy to implement—and the

relief is necessary to make Georgia’s 2020 general election safe for democracy.

                                       ●●●

      This Brief focuses on new evidence that conclusively shows why the

Coalition Plaintiffs should be found likely to prevail on the merits and should be

awarded the injunctive relief they seek.

II.   NECESSITY FOR, OVERVIEW OF, AND FEASIBILITY OF RELIEF
      SOUGHT

      A.     A Constitutional Voting System Provides “Transparent, Fair,
             Accurate, and Verifiable Election Processes That Guarantee Each
             Citizen’s Fundamental Right To Cast An Accountable Vote.”

      This Court held on September 17, 2018, that, “If a new balloting system is to

be launched in Georgia in an effective manner, it should address democracy’s


                                           4
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 12 of 45




critical need for transparent, fair, accurate, and verifiable election processes that

guarantee each citizen’s fundamental right to cast an accountable vote.” Curling v.

Kemp, 334 F. Supp. 3d 1303, 1328 (N.D. Ga. Sep. 17, 2018) (Doc. 309, at 46). All

evidence shows that the State’s BMD system satisfies none of these requirements.

      B.     The Entire Record Shows That Georgia’s Implementation of The
             Dominion Voting System Fails To Meet This Standard And
             Violates Voters’ Constitutional Rights

      Georgia began piloting its Dominion BMD System in November 2019.

Experience in every election from November 2019 through the present

demonstrates conclusively that Georgia’s BMD-based voting system is

irredeemably flawed and unconstitutional.

             1.     Evidence Previously Submitted Into The Record

      Previously filed evidence gathered in elections from November 2019 to

March 2020 is listed and summarized in Exhibit 15. See Fed. R. Evid. 1006. The

prior-filed evidence set out in Exhibit 15 is incorporated here by reference.

             2.     New Evidence

      New evidence from Georgia’s elections held on June 9, 2020 (Presidential

Preference Primary and general election primary), and on August 11, 2020 (related

runoffs) shows that the defects of the BMD system that were first identified in




                                           5
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 13 of 45




October 2019 remain critical and unresolved. The new evidence of the system’s

constitutional deficiencies falls into the seven broad categories discussed next:

                   a)     Voting System Servers Are Not Hardened And Not
                          “Air-Gapped” As Claimed

      State Defendant’s claims of air-gapped secure servers that are free of

hacking or attack risk are simply unfounded, and cannot be considered an effective

measure to protect an unaccountable BMD ballot system.

      On August 11, Coalition’s election security expert, Harri Hursti, observed

Fulton County’s election night operations and concluded based on the available

applications displayed that the Dominion system as installed was not properly

hardened for voting system use, indicating increased security risk. Exhibit 2, ¶ 17

(Hursti Decl.). Further, Mr. Hursti observed that remote wireless access could be

occurring, which will be investigated with pending discovery from Fulton County.

Id. at ¶¶ 44–45. The lack of basic chain of custody and security controls

surrounding the handling of memory cards carrying the electronic voted ballots

further exacerbates the security design flaws in the Dominion system.

      Counties report receiving no instruction from the Secretary of State to

maintain tight controls when using removable media with the new Dominion

servers. Exhibit 4, ¶ 18 (Marks Decl.) & Ex. 4 thereto ¶¶ 10–11. Based on

discussions with various counties and Coalition’s election night observations in

                                          6
         Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 14 of 45




others, it is not uncommon for counties to move data between the Dominion server

and their Internet-enabled e-mail servers and election night reporting servers, even

using USB devices that were used with the old GEMS server. Doc. 723 at 15

(Throop Decl.); Doc. 723 at 26 (Marks Decl.); Ex. 4, ¶ 16 (Marks Decl.)

                     b)     Scanner And Tabulation Software Is Not Counting
                            All Valid Voter Marks

         As described by Vote Review Panel members Jeanne Dufort, Exhibit 5

(Dufort Decl.) (Morgan County), and Adam Shirley, Exhibit 6 (Shirley Decl.)

(Athens-Clarke County), the Dominion scanner and tabulation software is failing

to count all legal votes, treating some marks as “ambiguous” requiring human

review and not counting some marks at all. Coalition’s representative Rhonda

Martin observed how the Fulton County adjudication process dealt with these

uncounted votes for a portion of the ballots flagged for review. Exhibit 3 (Martin

Decl.)

         Without legal authority, some county superintendents are refusing to permit

the Voter Review Panels to review all ballots for uncounted votes, despite the

likelihood of some clear votes being rejected by the software. Ex. 5 (Dufort Decl.);

Ex. 6 (Shirley Decl.) An illustration of an uncounted vote prior to adjudication can

be seen at Ex. 3 attached to Marilyn Marks’s Declaration (Ex. 4). In addition,

Coalition’s ballot scanning expert, Harri Hursti, has explained how Dominion’s

                                           7
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 15 of 45




low-quality scanned images cause further degradation to the ballot counting

process and escalate the risk that valid votes will not be counted. Ex. 2, at ¶ 70

(Hursti Decl.)

      While the State Election Board has proposed a new rule to establish fixed

settings for the first time, there has been insufficient testing to identify a setting

that will not have the widespread effect of discarding at least some valid votes.

Ex. 2, at ¶ 77 (Hursti Decl.) The State Defendants’ policy of denying voters

human review before arbitrarily discarding perceptible vote marks is

unconstitutional and violates Georgia law requiring votes to be counted if the

intent behind a voter’s mark can be ascertained upon review.

                    c)     Pre-Election Logic And Accuracy Testing Of BMDs Is
                           Materially Deficient

      Pre-election Logic and Accuracy Testing (“LAT”) is standard testing of

voting system components prior to deployment. Georgia’s law for electronic ballot

marking devices provides that, the “superintendent shall have each electronic

ballot marker tested to ascertain that it will correctly record the votes cast for all

offices and on all questions and produce a ballot reflecting such choices of the

elector…” O.C.G.A. § 21–2–379.25(c) (emphasis added).

      In an apparent effort to evade the significant (but necessary) burden of this

testing, the Secretary slashed the testing requirements in his procedure manual to

                                            8
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 16 of 45




permit testing as few as one machine in the polling place for any particular

candidate’s target area, with no requirement to test all ballot styles. Ex. 2, at Ex. L

thereto (Hursti Decl.); Ex. 4, ¶¶ 5–14 (Marks Decl.)

      Based on evidence of the test ballots obtained from Fayette and Paulding

counties, the State’s BMD LAT procedures are materially deficient and non-

compliant with the requirements of Georgia law. Limited testing in three counties

shows that the minimum LAT requirements for BMDs are not being met. Ex. 4, at

¶ 5-14 (Marks Decl.) Additionally Elizabeth Throop observed LAT in DeKalb

County, on August 24, 2020, and discovered the same testing deficiency there as

well. Exhibit 7, ¶¶ 5–6 (Throop Decl.) Mr. Hursti addresses the seriousness of

deficient LAT procedures in his Declaration. Ex. 2, at ¶ 79 (Hursti Decl.)

      The Secretary has ignored warnings about the complexity of performing

even the most basic LAT testing of 33,000 touchscreens and their 33,000

associated printers. Now simply complying with the most basic essential testing

requirements in advance of the November election is an unrealistic aspiration,

especially given the volunteer labor shortage caused by the pandemic. Without

testing, the Dominion BMD system simply cannot be trusted and is

unconstitutional to use.




                                           9
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 17 of 45




                    d)     Post-Election Audit Failures And Non-Compliance

      Like the LAT exercises conducted before an election, audits conducted after

an election are essential to ensure the proper functioning and integrity of any

computerized voting system. Unfortunately, new evidence conclusively supports

the continuing need for Coalition Plaintiffs’ first and third requests for relief,

namely, replacement of the BMDs because they are unauditable and adoption of

more robust election audit procedures based on generally accepted audit principles.

      Lack of BMD Auditability. The State Defendants’ position that the BMDs

are auditable rests entirely upon the assumption that voters can and will check the

accuracy of the ballot summary cards. New evidence confirms, again, that voters

do not review the ballot summaries. For example, in a day of working at the polls,

a Dominion temporary technician “never saw anyone carefully reviewing their

choices on their [ballot] printout.” (Doc. 800-4, at 7 ¶ 30.) A poll watcher stated:

“While observing for over four hours, I observed that very few voters made the

effort to look at their print ballot before scanning it into the scanner. I did not hear

or observe poll workers advising voters to review their ballot.” (Doc. 800-6 at 4 ¶

25 (Whitley Decl.); see also id. at 5 ¶ 26 (on June 9, at four different polling

locations, observed less than 5% of voters reviewing their ballots before casting it

into the scanner).) Mr. Hursti reports on how voters were obviously not reviewing



                                           10
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 18 of 45




their ballots because they were trying to scan “test ballots” that the BMDs

incorrectly printed. Ex. 2, at ¶ 16 (Hursti Decl.); id. at 3, ¶ 5(c) (“voters are not

reviewing their BMD printed ballots, which causes BMD generated results to be

un-auditable due to the untrustworthy audit trail”).

      Need for Effective Post-Election, Pre-Certification Audits. The Secretary

told the press that his “pilot post-election audit” in June 2020 confirmed the

outcome of the presidential preference primaries in Fulton County and

demonstrated “once again the validity of the results produced by Georgia’s new

secure paper-ballot system.” The Secretary further stated that the audit “was a

risk-limiting audit.” In his declaration, however, Dr. Philip Stark, who invented

the risk-limiting audit, explains that the Secretary’s description of the pilot audit

was “false and misleading.” Ex. 1, at 3 (Stark Decl.). Dr. Stark describes in painful

detail the many ways in which the Secretary’s Fulton pilot audit was deficient. It

was not a risk limiting audit of the outcome because, among other reasons, it relied

on the BMD printout: “Errors in the BMD printout would not be detected by this

audit and cannot be detected by any audit.” Exhibit 1, at 6 (Stark Decl.) The audit

did not follow “established procedures agreed upon by national voting-integrity

experts” in ten material ways, as Dr. Stark describes on pages 4 through 8 of his

declaration. Ex. 1, at 4 (Stark Decl.)


                                          11
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 19 of 45




      Coalition Board member Rhonda Martin attended the Fulton Pilot Audit and

describes the superficiality of the procedures that, plainly, could not have verified

the validity of the result or even confirmed the outcome, as the Secretary had

proclaimed because, among other reasons, trusted source documents were not used

and the software-based auditing tool was used when “the basic assumptions of the

underlying statistics” were violated. Ex. 3, at ¶ 31 (Martin Decl.).

      In his declaration, Professor Stark goes on to address the State Election

Board’s Proposed Rule (set out in Exhibit 13) relating to audits. Ex. 1, ¶¶ 18 et seq.

(Stark Decl.) Professor Stark describes the Proposed Rule as “grossly deficient”

because, among other reasons, it allows the Secretary to select the contests for

audit, requires audits only once every two years (when every contest should be

subject to some scrutiny), does not provide for a “compliance audit” to establish

whether the audit trail is trustworthy, and many other deficiencies. Id. at ¶ 24. The

proposed audit rules, Dr. Stark concludes, are “’security theater’ unable to catch

even serious, outcome-altering problems,” including the tabulation of votes. Id. at

¶ 28. In sum, the State’s existing and proposed audit procedures are wholly

incapable of providing any meaningful assurance that the outcomes produced by

Georgia’s BMD voting system are correct.




                                          12
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 20 of 45




                   e)     Ongoing Ballot Secrecy Violations

      Ballot secrecy violations resulting from oversized touchscreens continue to

plague Georgia voters, and the State appears to have no plan to do anything at all

to provide a remedy. On March 31, 2020, the Secretary acknowledged in his ruling

against a HAVA complaint filed by Coalition that:

             [P]olling places layouts developed by local election
             officials must be done in a manner that ensures voter
             privacy, including obscuring the sightlines of observers,
             poll watchers, and the public such that they cannot view a
             BMD screen.

(Exhibit 14, at Page 6 of 7.)

      Yet, despite this acknowledgment, the Secretary did nothing in the June and

August 2020 elections and instead continued to require in-person voters to use

non-compliant BMDs with touchscreens that violated ballot secrecy. The evidence

of secrecy violations caused by the touchscreens is overwhelming. (See generally

Doc. 755, at 80-81 (Wasson Decl.) (during July 20 early voting in DeKalb County,

the BMD screens “were visible from outside the hallway, where members of the

public could watch people voting”); Doc. 755, at 126 (Whitley Decl.) (June 9 poll

watcher in Gwinnett states that she “could easily see how people were voting”). )

At the Peachtree Christian polling place on August 11, 2020, the positioning of the

equipment allowed the public to see how voters were voting from over thirty feet



                                        13
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 21 of 45




away. (Doc. 802, at 19 ¶ 14 (Marks Decl.).) At Southeast Library, “any poll

worker could easily see how people vote due to the large screens” in the small

room. (Doc. 800-6 at 5 ¶ 28 (Whitley Decl.); see also Exhibit 10, ¶ 23 (Dowswell

Decl.) (voters could see how others were voting); Exhibit 11, ¶ 21 (Akkouris

Decl.) (at St. James United, “all the BMDs were facing the entrance to the precinct

and people’s privacy was not being respected while they were voting”);

Exhibit 12, ¶ 6 (Stamey Decl.); Ex. 2, ¶ 6 (Hursti Decl.) (“Voter’s selections could

be effortlessly seen from over 50 feet away”).) In sum, the State Defendants fully

intend to continue burdening the right to vote by depriving in-person voters of

ballot secrecy, despite being fully aware of the obligation to do otherwise. (See

Doc. 723 (fifteen declarations about continuing pervasive ballot secrecy violations

in elections prior to June 2020).)

                    f)    Ballot Accounting Discrepancies Are Common

      Standard ballot accounting of course calls for the number of voters checking

in to reconcile to the number of ballots cast, accounting for spoiled ballots or other

limited exceptions. But as a review of the public records show, material differences

exist between the number of ballots cast and the number of voters recorded in the

PollPads as checking in at many Fulton County precincts’ Ballot Recap Sheets.

(See Doc. 802 at 22 (Marks Decl.)). Based on reports to Coalition, similar material



                                          14
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 22 of 45




unreconciled differences are anticipated to be documented in responses to

counties’ third parties’ subpoenas, implying system malfunction or significant user

errors. Discovery on this critical issue is ongoing.

                   g)     Malfunctions Reported

      Widespread national and local media reports captured the chaotic experience

of the partial deployment of the BMD system on June 9. There is no doubt about

the BMD system’s failure, and hundreds of pages of detailed evidence could be

gathered from multiple counties to document the “complete meltdown” that

happened on June 9, 2020. Documentation of machine malfunctions and system

operating issues is being gathered in formal discovery and through open records

reports. Coalition’s volunteers also observed these problems at the June 9 and

August 11 elections. For example, on August 11 at the FanPlex polling place in

Atlanta, Mr. Hursti observed a BMD generating multiple test ballots to voters in

addition to standard ballots. Ex. 2 (Hursti Decl.); Doc. 800-6 (Whitley Decl.); see

also Exhibit 8 (Halley Decl.), Exhibit 9 (Elander Decl.) (voters report BMD ballot

content errors during BMD voting in the June 9 election); and Doc. 800-4

(Peterson Decl.); Exs. 10 & 11 (Dowswell & Akkouris Decls.) (pollworkers

experienced failing machines, untrained staff, and difficult remedies). The




                                         15
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 23 of 45




existence of so many malfunctions means that the Dominion BMD System

deprives voters of their right to cast an accountable vote.

             3.     More Evidence Will Be Forthcoming From Discovery

      Further evidence bearing on the foregoing constitutional deficiencies will be

forthcoming as Defendants’ and third parties’ responses to pending discovery are

received.4 Before the hearing on this Motion, Coalition Plaintiffs expect to

conduct ballot scanning and tabulation testing on a county scanner tabulator; to

obtain evidence concerning the presence of insecure commercial “freeware”

installed on Fulton County’s Dominion Server; to obtain additional ballot images

from county boards of election; and to receive substantial additional documentary

evidence from thirteen subpoenas and numerous open records requests.

      C.     Requested Relief—Description And Feasibility

      Coalition Plaintiffs seek three items of relief as set out in the Proposed

Order.5 The requested relief can feasibly be implemented before November.

             1.     Hand Marked Paper Ballots Instead Of BMDs

      First, the Court should prohibit the State Defendants from enforcing

O.C.G.A. § 21–2–300(a)(2), O.C.G.A. § 21–2–383(c), or any requirement that in-



4
 This Court lifted the stay of discovery 24 days ago, on July 30, 2020. (Doc. 751.)
5
 Coalition Plaintiffs have separately moved to require updated paper pollbook
backups at each polling location in case e-pollbooks have problems. (Doc. 800.)

                                          16
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 24 of 45




person voters must vote on unauditable, secrecy-compromising, insecure, and

deficiently tested marking devices (BMDs). Defendants should instead be required

to make hand marked paper ballots the standard method for in-person voting.

      This relief is eminently feasible for the State to implement before

November. The Defendants’ own election rules already require polling places to be

prepared to immediately change from voting on BMDs to voting by hand marked

paper ballots whenever in-person voting wait times grow to be longer than thirty

minutes or unexpected emergency conditions arise. If every polling place in the

State must already be prepared to make this switch “on the fly” on Election Day,

while acting under the pressure of an unexpected crowd of waiting voters, machine

malfunctions, or power outages, then it is plainly feasible for such a switch to be

made in a deliberate, planned way over two months prior to Election Day.

             2.    Scanning Fixes For Mailed/Hand Marked Ballots

      Second, the Court should command the State Defendants to amend their

proposed State Election Board Rule 183-1-15-.02 to require scanner sensitivity

settings that will not reject any perceptible voter markings on any hand marked

paper ballots. This rule change is feasible because the proposed amendment to

State Election Board Rule 183-1-15-.02 is still pending, and a revised version can

easily be adopted in the time that remains before the November election.



                                         17
       Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 25 of 45




             3.     Effective Audits For Mailed/Hand Marked Ballot
                    Tabulations

       Third, the Court should command the State Defendants to require

meaningful pre-certification audits of election results, focusing on contested

candidate races and ballot questions, applying well-accepted audit principles, in

order to ensure, to a scientifically appropriate level of confidence, that incorrect

outcomes will be detected prior to any certification of election results. It is feasible

for the State Defendants to adopt better audit procedures since they are currently

amending their proposed audit rule anyway. (Exhibit 13, at 11–12 (proposed Rule

183–1–15–.04)).

III.   LEGAL FRAMEWORK GOVERNING THIS MOTION

       A.    Overview

       To obtain a preliminary injunction, a plaintiff must establish “that he is

likely to succeed on the merits, that he is likely to suffer irreparable harm in the

absence of preliminary relief, that the balance of equities tips in his favor, and that

an injunction is in the public interest.” Winter v. NRDC , 555 U.S. 7, 20 (2008).

       The Court is permitted to rely upon hearsay and affidavits in lieu of live

testimony in the context of an injunction motion. See Univ. of Tex. v. Camenisch,

451 U.S. 390, 395 (1981).




                                           18
       Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 26 of 45




       B.    Substantive Law Governing The Underlying Merits

       The following constitutional law has been well covered in prior briefings.

             1.     Fundamental Right To Vote

       Burdens on voting short of outright disenfranchisement are unconstitutional

if they are not outweighed by a legitimate government interest. “[A] court

evaluating a constitutional challenge to an election regulation weigh[s] the asserted

injury to the right to vote against the precise interests put forward by the State as

justifications for the burden imposed by its rule.” Crawford v. Marion County

Election Bd., 553 U.S. 181, 190 (2008); see also Burdick v. Takushi, 504 U.S. 428,

434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983). “However slight

that burden may appear, . . . it must be justified by relevant and legitimate state

interests ‘sufficiently weighty to justify the limitation.’” Crawford, 553 U.S. at

191.

             2.     Equal Protection

       “The Equal Protection Clause of the Fourteenth Amendment commands that

no State shall ‘deny to any person within its jurisdiction the equal protection of the

laws,’ which is essentially a direction that all persons similarly situated should be

treated alike.” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985).

Differences between voting methods give rise to equal protection issues “of



                                          19
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 27 of 45




constitutional dimension” where they lead voters who use one method to be “less

likely to cast an effective vote than voters” who use a different method. Wexler v.

Anderson, 452 F.3d 1226, 1231 (11th Cir. 2006). To evaluate an equal protection

claim that arises in the voting context, courts apply the Crawford / Burdick /

Anderson balancing test. Crawford, 553 U.S. at 190

             3.     Unconstitutional Conditions Doctrine

      The unconstitutional conditions doctrine6 prohibits States from

“condition[ing] receipt of a benefit or privilege on the relinquishment of a

constitutional right.” Bourgeois v. Peters, 387 F.3d 1303, 1324 (11th Cir. 2004);

see also Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013).

“[A]n especially malignant unconstitutional condition” exists where citizens are

“required to surrender a constitutional right … not merely to receive a

discretionary benefit but to exercise [] other fundamental rights.” Id. The ability to

avoid a constitutional violation by choosing a different way to exercise the violated

right “does not alleviate the constitutional infirmity” of an unconstitutional

condition. Id. at 1324–25.




6
 The FSC invokes this doctrine in connection with both the right to vote, (Count I,
Doc. 628, at 69, ¶ 226) and the right to equal protection (Count II, id. at 72, ¶ 235).


                                          20
        Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 28 of 45




IV.     STANDING OF COALITION PLAINTIFFS

        Coalition Plaintiffs previously presented evidence of their standing to bring

the claims raised by the FSC. (Doc. 640-1, at 68 ¶ 3 (Marks Decl. addressing

organizational and associational standing); id. at 163 ¶¶ 6–12 (L. Digges Decl.); id.

at 167 ¶¶ 6–12 (W. Digges III Decl.); id. at 156 ¶¶ 6–13 (Davis. Decl.); id. at 149

¶¶ 5–13 (Missett Decl.).) The same reasoning that led the Court to find standing to

challenge the DRE system, Curling, 334 F. Supp. 3d at 1314–20 (Doc. 309, at 16–

29), also warrants a finding that Coalition Plaintiffs have standing to challenge the

BMD system. (Doc. 640-1, at 11–14 (analysis).)

V.      COALITION PLAINTIFFS ARE LIKELY TO SUCCEED ON THE
        MERITS BY SHOWING THAT GEORGIA’S REQUIREMENT FOR
        VOTERS TO USE BMDs IS UNCONSTITUTIONAL

        Coalition Plaintiffs are likely to prevail on the merits of their right-to-vote

and equal-protection claims under the Crawford / Burdick / Anderson balancing

test.

        A.    Georgia’s BMDs Unconstitutionally Infringe Upon The
              Fundamental Right To Vote By Producing Unaccountable Results
              That Are Impossible To Audit And Verify

        A voting system that cannot be audited to confirm that the outcome it

produces is correct fails, by definition, to protect the right of each voter to enjoy

“transparent, fair, accurate, and verifiable election processes that guarantee each



                                            21
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 29 of 45




citizen’s fundamental right to cast an accountable vote.” Curling, 334 F. Supp. 3d

at 1328 (Doc. 309, at 46). Because Georgia’s BMD voting system simply cannot

be audited, as Professor Stark has demonstrated, the required use of BMDs should

be enjoined, and hand marked paper ballots should instead be made the standard

method for in-person voting.

      Any computer-based voting system computer can be misprogrammed or

hacked. As a consequence, a computer voting system like Georgia’s must be

auditable to provide credible election results. Post-election, pre-certification audits

are the only way to assure that the results reported are credible and accurate.

      As the Court is by now well aware, an effective post-election audit cannot be

performed on BMD-generated results because the only records of voters’ choices

in such a system (the computer-generated barcodes and printed ballot summaries

on the ballot card printouts) are not records of voter intent that were created

independently of the electronic voting system software. Because the ballot cards

are produced by the BMD itself, they simply cannot serve as a reliable source

record for an audit. Instead, the ballot cards are essentially nothing more than

unverified secondary records generated by the very computers that are meant to be

verified by the audit process in the first place. BMDs lack any truly auditable




                                          22
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 30 of 45




record of the original vote cast. The system is inherently incapable of being

audited.

      Defendants’ position is that individual voters will have the opportunity to

review the computer-generated paper record of their purported choices to confirm

the machine’s recording accuracy. But this will not create an auditable record

unless (a) every voter does in fact review their choices for accuracy (and the

evidence is that almost no one does so) and (b) there is a feedback mechanism in

the event a voter reports that the computer-generated paper record is inaccurate

(and there is none and, as a practical matter, cannot be any).

      As to whether voters actually review the ballot summaries for accuracy,

research shows that voluntary voter verification of computer-generated paper

ballots is notoriously sporadic, unreliable and inaccurate and will not result in an

adequately voter-verified record of the original transaction that can form the basis

for a post-election audit. Auditing and voting systems experts conclude that most

voters do not reliably, accurately, or completely check the printed ballot

summaries. In addition, all the evidence from Georgia’s recent elections on BMDs

that is discussed above confirm that voters, even when prompted to do so,

generally do not review their ballot summaries. And most voters could not review

their ballot cards accurately if they tried—the National Academy of Sciences has


                                          23
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 31 of 45




warned: “Unless a voter takes notes while voting, BMDs that print only selections

with abbreviated names/ descriptions of the contests are virtually unusable for

verifying voter intent.”7

      Since the ballot summaries are not reviewed by voters, any audit of the

BMD system is fatally flawed for it assumes, without any evidence, what the audit

is supposed to be testing: that the output of the BMD—the English language ballot

summary and, more important, the inscrutable QR code—is an accurate report of

the voters’ choices. At the end of the day, the most a BMD audit can say is that,

assuming that the BMD has accurately captured voter intent, the rest of the system

has accurately counted and tabulated the votes. That assurance does not make for

the kind of accountable voting system that this Court has already said the

Constitution requires.

      B.     Georgia’s BMDs Unconstitutionally Burden The Right To Vote
             And Treat Similarly Situated Voters Unequally By Depriving In-
             Person Voters Of Ballot Secrecy

      The BMDs used by Georgia severely burden the fundamental right to vote

by depriving voters of secrecy of the ballot. This deprivation of ballot secrecy

occurs in two distinct ways. First, the touchscreens are so large that any person in


7
 Securing the Vote: Protecting American Democracy, at 79,
https://www.nap.edu/login.php?record_id=2512o&page=https%3A%2F%2Fwww.
nap.edu%2Fdownload%2F25120 (last visited Aug. 21, 2020).

                                         24
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 32 of 45




the polling place can see how a voter is voting in real time.8 Second, the Dominion

precinct scanners record timestamp information directly onto the digital cast vote

record that is created when a ballot is scanned, with the result that a voted BMD

ballot card can easily be connected afterward with the individual voter who cast

that ballot by simply comparing the scanned cast vote records (ordered by

timestamps) with the order in which voters are observed going through the voting



8
  The secrecy-jeopardizing size of the BMD touchscreens was only discovered by
Plaintiffs when the actual hardware for the new system was rolled out for the first
time in Georgia during the November 2019 pilot elections, an event that occurred
well after the FSC was filed on September 6, 2019. (Doc. 600.) While the State
may argue the touchscreens are not within the scope of the case as a result, that
argument is wrong. The Dominion BMD System’s failure to preserve ballot
secrecy was squarely placed at issue by the FSC’s allegations (1) that Georgia’s
HB 316 required BMD voting systems to “[p]ermit voting in absolute secrecy so
that no person can see or know any other elector’s votes” (Doc. 628, at 17, ¶ 46),
and (2) that the Dominion BMD System “will deprive Georgia voters of their state
constitutional right to a secret ballot,” including through the system’s timestamping
of scanned BMD ballot cards (Doc. 628 at 31, ¶ 93; 40–41, ¶¶ 126–27.) All that
has happened since is that Plaintiffs discovered (immediately upon system
deployment in the 2019 pilots) a new mechanism through which even more
egregious direct violations will occur, which will be remedied by the relief already
being sought. Discovery often produces new evidence that supports claims already
at issue—that is the purpose of discovery under the federal rules. Accordingly,
there is no good reason why Plaintiffs’ post-pleading discovery that the oversized
BMD touchscreens violate ballot secrecy just as the timestamps do should be
considered outside the scope of the existing claims. Plaintiffs seek to remedy
constitutional violations arising from the Dominion system’s lack of ballot secrecy
whether the deprivation is caused by timestamping, touchscreen size, or something
else. Evidence that the touchscreens destroy ballot secrecy should be received just
like any other new evidence that bears directly on an existing claim.

                                         25
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 33 of 45




process. The large BMD touchscreens and the timestamping of scanned BMD

ballot cards are separate problems that both independently violate in-person voters’

fundamental right to vote (Count I of the FSC) and right to equal protection

(Count II of the FSC).

      Right to Vote

      It is undisputed that free exercise of the right to vote requires ballot secrecy.

The State Defendants have themselves argued as much in this very case, saying:

             The United States Supreme Court has also recognized the
             necessity of the secret ballot to prevent electoral abuses
             and its prevalence in all 50 states. Burson v. Freeman,
             504 U.S. 191, 206-07 (1992). Indeed, “[s]ociety has a
             strong interest in encouraging all individuals, even the
             most timid, to vote.” In re Dinnan, 661 F.2d 426, 432
             (5th Cir. Unit B 1981). State Defendants therefore object
             to this request for protected information on the basis that
             disclosure of cast vote images would destroy the secrecy
             of the ballot maintained by the Constitution of Georgia
             and recognized by the Supreme Court.

(Doc. 369, at 22 (State’s motion to quash a subpoena for cast vote records).

      To justify the burden that depriving voters of absolute secrecy imposes upon

the right to vote under Crawford / Burdick / Anderson, the State must articulate the

“precise interests” that justify limiting ballot secrecy. Crawford, 553 U.S. at 191.

Not only must those interests be “sufficiently weighty to justify the limitation,” id.,

but they may not be mere “administrative and financial considerations.” Tashjian


                                          26
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 34 of 45




v. Republican Party, 479 U.S. 208, 218 (1986). The State lacks any interest

sufficient to prevail.

       Equal Protection

       BMDs deprive in-person voters of the same ballot secrecy that absentee

voters in the same election enjoy. This differential treatment violates the Equal

Protection Clause. Under Georgia law, all voters enjoy a state constitutional right

to a secret ballot. Ga. Const. art. II, § 1, ¶ I (“Elections by the people shall be by

secret ballot and shall be conducted in accordance with procedures provided by

law.”). Several state statutes codify this state constitutional right in a statutory

guarantee of “absolute” secrecy. See O.C.G.A. § 21–2–70(13); § 21–2–322; § 21–

2–365; § 21–2–379.1; § 21–2–373; § 21–2–386(5). Having conferred a right to

absolute ballot secrecy upon all voters, the State of Georgia may not now eliminate

that right only for those voters who vote in-person. Bush v. Gore, 531 U.S. 98,

104–05 (2000).

       Nor may the State argue that voters who do not wish to suffer constitutional

violations by voting in person can avoid by simply voting absentee. This erroneous

argument is barred by the unconstitutional conditions doctrine and amounts itself

to an independent constitutional violation. See Bourgeois 387 F.3d at 1324.




                                           27
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 35 of 45




      C.     Georgia’s Implementation Of The Dominion Voting System Is
             Unconstitutionally Insecure

      Georgia’s touchscreen BMDs share the same security issues and operate

similarly to touchscreen DREs, except that the BMD interprets the voter’s screen

input onto a printed paper vote record, while the paperless DRE records the screen

input directly into electronic memory. In both cases, a computer is between the

voter and the ballot, which introduces the potential for errors or malicious

programming to prevent the voter’s selection from being correctly recorded. This

problem of a computer intermediary is especially critical with a BMD system that

uses a QR code to encrypt the voter’s choices, since the voter cannot verify that the

machine has accurately recorded his or her vote at all.

      Under these circumstances, a pervasively lax approach to computer security

deprives voters of their right to “transparent, fair, accurate, and verifiable election

processes that guarantee each citizen’s fundamental right to cast an accountable

vote.” Curling, 334 F. Supp. 3d at 1328 (Doc. 309, at 46). Yet all the evidence

shows that a complete lack of security characterizes Georgia’s BMD System.

Pollbooks are replete with apparent errors and malfunctions that allow unlimited

ballots to be issued, multiple ballots can be printed from BMDs during the same

voter session, physical security of voting system components in polling places is

woefully lacking, USB sticks are used in the machines and “air gaps” are not

                                           28
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 36 of 45




maintained, off-the-shelf consumer-grade computers are used to run election

servers without first having been cleaned of pre-installed games and privacy-

threatening “bloatware,” and numerous other expert observations all combine to

demonstrate conclusively that Georgia’s BMD System is simply not trustworthy

enough to use to safely conduct a constitutional election.

      D.     Georgia’s Testing Of The Dominion Voting System Is
             Unconstitutionally Deficient

      Georgia law, consistent with typical Logic and Accuracy testing (LAT)

goals in many states, requires the testing of all questions and all offices on each

BMD. O.C.G.A. § 21–2–379.25(a), (c). The LAT procedures that have been

implemented fail require testing that satisfies these requirements. See Ex.3, at 20–

30 (Martin Decl. Ex. 1) (Secretary’s LAT Procedures (Jan. 2020)). When a BMD

ballot could involve over a dozen contests across dozens of ballot styles in the

primary or general election, there is simply no way to ensure that the “device is

properly recording votes and producing proper ballots,” O.C.G.A. § 21–2–

379.25(a), without testing every contest in every ballot style in every machine. Not

only does thorough testing or all combinations of races on each machine make

sense, such thorough testing is also consistent with (and required by) the statute.

Given the evidence of BMD equipment failures and known system security

vulnerabilities, going through the statutory minimum procedures during pre-

                                          29
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 37 of 45




election LAT processes is even more critical. Since the State Defendants do not

require counties to perform LAT procedures consistently with even the basic

statutory requirements, the BMD System is incapable of satisfying this Court’s

standard that constitutional elections require “transparent, fair, accurate, and

verifiable election processes that guarantee each citizen’s fundamental right to cast

an accountable vote.” Curling, 334 F. Supp. 3d at 1328 (Doc. 309, at 46).

VI.   COALITION PLAINTIFFS ARE LIKELY TO SUCCEED ON THE
      MERITS BY SHOWING THAT SCANNERS MAY NOT BE
      PROGRAMMED TO IGNORE VOTER MARKS ARBITRARILY

      Under the Crawford / Burdick / Anderson balancing test, Coalition Plaintiffs

are likely to show that the State Defendants’ interest in proposed scanning

sensitivity thresholds that will discard some votes is outweighed by the imminent

threat of severe injury to Plaintiffs’ constitutional rights.9

      Scanners detect votes by reading what is known as a “target area” inside an

oval next to a voter's choice. If a certain percentage of the target area is filled in,

that marking is interpreted as a vote. If the marking fills in a lower percentage, then




9
 This Court properly concluded that, “The functionality and reliability of the
scanners is relevant to both the Plaintiffs’ requested relief in connection with their
First Supplemental Complaint and related Equal Protection claims.” (Doc. 799,
at 2.)

                                           30
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 38 of 45




it is not interpreted as a vote. Anything between the two thresholds is flagged for

review by a bipartisan panel.

      For the June primary, Georgia's system was set to factory settings, which

counted marks that filled in 35% or more of the target area as a vote, did not count

anything below 12% as a vote, and sent anything between those two to a review

panel. The State Defendants have proposed to amend State Election Board rule

183-1-15-.02(2)(k) to lower both thresholds. (Ex.13, p.5 of 13 (proposed rules).)

      Under the proposed amended rule, any marks that fill in more than 20% of

the target area will be considered a vote, but anything below 10% will not be

considered a vote. Marks falling between 10% and 20% will go to a vote review

panel for adjudication. (Id.) In sum, the proposed sensitivity threshold will still

inevitably cause some light but perceptible voter marks not to be counted without

the exercise of any human judgment or review.

      It is unconstitutional to allow a Dominion computer software application to

discard voter markings that are below an arbitrary threshold of completeness. The

differences between a computer’s perception and human perception of voter intent

are clear from examples of ballots that show different results reached by human

and computer readers. Votes which are obvious to a human eye can often be

discounted and rejected as non-votes by a computer program.


                                          31
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 39 of 45




      The proposed scanner sensitivity settings will control the counting of votes

on all hand marked paper ballots , which means all absentee, provisional, and

emergency ballots. The potential is obvious for the Dominion system to discard a

large number of markings that human tabulators would perceive as being

expressions of voter intent to cast a vote. Adopting setting that allow scanners to

automatically reject voter marks that are perceptible at any level is plainly a

violation of the fundamental right of each voter to have his or her vote accurately

recorded and counted, as well as the right of every voter to have all votes counted

correctly. United States v. Saylor, 322 U.S. 385, 386 (1944). It is also a violation

of equal protection because in-person voters who use BMDs are not subject to

having their votes rejected by a scanner due to faint marks (of course, BMD voters

face serious problems of their own, as has already been shown.)

      The Secretary’s proposed rule must be enjoined, and the Secretary must

instead be ordered to require sensitivity settings that count any perceptible voter

mark as a vote. If this produces an overvote, then the ballot will be flagged for

manual adjudication of voter intent by a vote review panel pursuant to O.C.G.A.

§ 21–2–483(g)—using human eyes and judgment, not a computer’s arbitrary

perception. No voter markings on any ballot should ever be allowed to be

automatically rejected by a computer without some level of human review.


                                          32
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 40 of 45




VII. ALL REMAINING ELEMENTS REQUIRED TO JUSTIFY AN
     AWARD OF INJUNCTIVE RELIEF ARE ALSO PRESENT

      Coalition Plaintiffs are likely to suffer irreparable harm in the absence of

preliminary relief, the balance of equities tips in their favor, and an injunction is in

the public interest. Winter, 555 U.S. at 20.

      A.     Coalition Plaintiffs Are Likely To Suffer Irreparable Harm

      Because Defendants’ threatened conduct will infringe upon the Plaintiffs’

fundamental right to vote and right to equal protection in the exercise of the

franchise, Plaintiffs have clearly shown irreparable harm. See Reynolds v. Sims,

377 U.S. 533, 555 (1964). Jones v. Governor of Fla., 950 F.3d 795, 828 (11th Cir.

2020).

      B.     The Balance Of Equities Favors The Coalition Plaintiffs

      The weight of Plaintiffs’ interest is self-evident, for “No right is more

precious in a free country than that of having a voice in the election of those who

make the laws under which, as good citizens, we must live. Other rights, even the

most basic, are illusory if the right to vote is undermined.” Wesberry v. Sanders,

376 U.S. 1, 17 (1964) (emphasis added).

      The interest of the State in avoiding an injunction is comparatively

insubstantial. The State has an interest in utilizing its preferred method to conduct




                                           33
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 41 of 45




elections, but no valid reason to favor that method over using hand marked paper

ballots, which is the State’s own legally authorized alternative voting method.

      The administrative burdens on the State of switching to hand marked paper

ballots for in-person voting, fixing scanning thresholds, and requiring effective

pre-certification audits are minimal as a matter of fact and irrelevant as a matter of

law. See Tashjian , 479 U.S. at 218 (“the possibility of future increases in

the cost of administering the election system is not a sufficient basis here for

infringing appellees’ First Amendment rights”).

      C.     An Injunction Is In The Public Interest

      For the same reason that the equities favor the Coalition Plaintiffs, so too

does the public interest likewise favor the granting of an injunction. In cases

involving significant public interest, courts “consider the balance of the equities

and the public interest factors together.” Columbia Gas Transmission, LLC v.

84.53 Acres of Land, More or Less, 310 F. Supp. 3d 685, 695 (N.D. W.Va. 2018);

see also Winter, 555 U.S. at 26 (considering balance of the equities and public

interest together).

      Granting the relief that the Coalition Plaintiffs seek will serve the public

interest. Public confidence in the integrity of Georgia’s election systems is vital.




                                          34
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 42 of 45




The 2020 presidential election is widely expected to produce disputed election-

night results in Georgia and elsewhere. In these fraught circumstances,

             The public must have confidence that the election
             process is fair . . . . Those who have studied history and
             have observed the fragility of democratic institutions in
             our own time realize that one of our country’s most
             precious possessions is . . . the widespread acceptance of
             election results. Repeated abuse . . . can chip away at
             public respect for our legal institutions and undermine
             the willingness of losing candidates to accept the results.

Casarez v. Val Verde Cty., 957 F. Supp. 847, 865 (W.D. Tex. 1997).

      The relief requested by Coalition Plaintiffs will let all voters have

confidence in the correctness and verifiability of Georgia’s election outcomes by

requiring “transparent, fair, accurate, and verifiable election processes that

guarantee each citizen’s fundamental right to cast an accountable vote.” Curling,

334 F. Supp. 3d at 1328 (Doc. 309, at 46). For this reason alone, if no other, an

order granting the requested relief will manifestly be in the public interest.

VIII. CONCLUSION

      For the foregoing reasons, this Motion should be granted.




                                          35
    Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 43 of 45




    Respectfully submitted this 24th day of August, 2020.

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                                     36
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 44 of 45




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ Bruce P. Brown
                                            Bruce P. Brown




                                       37
      Case 1:17-cv-02989-AT Document 809-1 Filed 08/24/20 Page 45 of 45




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER , ET AL.,
Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ Bruce P. Brown
                                               Bruce P. Brown




                                          38
